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 1                                  UNITED STATES DISTRICT COURT

 2                                         DISTRICT OF NEVADA

 3
      UNITED STATES OF AMERICA,                                       2:13-cr-147-LDG-GWF
 4
                       Plaintiff,
 5                                                                             ORDER
      vs.
 6
      RANDY RULEY PHILLIPS,
 7
                       Defendant.
 8
 9                                                  ORDER

10                   The ends of justice served by granting said continuance outweigh the best interest

11   of the public and the defendant in a speedy sentencing, since the failure to grant said continuance

12   would be likely to result in a miscarriage of justice, would deny the parties herein sufficient time and

13   the opportunity within which to be able to effectively and thoroughly prepare for sentencing, taking

14   into account the exercise of due diligence.

15           The continuance sought herein is excludable under the Speedy Trial Act, title 18, United

16   States Code, § 3161 (h)(7)(A), when the considering the facts under Title 18, United States Code,

17   §§ 3161(h)(7)(B)(i) and 3161(h)(7)(B)(iv).

18                   IT IS THEREFORE ORDERED that the Sentencing currently scheduled for

19   Thursday, May 28, 2015 at 9:00 a.m., be vacated and continued to Monday, August 3, 2015

20   at the hour of 10:00 a.m..

21

22           DATED this ____ day of                               , 2015.

23
24

25                                                           UNITED STATES DISTRICT JUDGE
                                                             LLOYD D. GEORGE
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